         Case 1:12-cv-00775-LH-GBW Document 75 Filed 02/20/14 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW MEXICO

                 Before the Honorable Gregory B. Wormuth
                      United States Magistrate Judge

                                  Clerk’s Minutes

                               CIV 12‐775 LH/GBW

                              Wood v. Bennett et al.

                           Date of Hearing:       2/19/2014
                               (recorded FTR Dona Ana)



Attorneys for Plaintiff:                       Frank Balderrama

Attorney for Defendants:                       Michael Scott Owen

Proceedings:                                   Motion Hearing

Start Time:                             10:30 a.m.
Stop Time:                              10:38 a.m.
Total Time:                             8 minutes

Clerk:                                  RLK

Notes:
   The Court explained that it set the hearing based on what transpired at the
       settlement conference in Las Cruces. The Court noted that Mr. Fergusson had
       appeared on behalf of Plaintiff but was not apprised of Plaintiff’s position on
       settlement. The Court asked Mr. Balderrama to explain what had happened.
   Mr. Balderrama apologized for not being present and for not properly preparing
       Mr. Fergusson.
   The Court accepted Mr. Balderrama’s apology but emphasized that the conduct
       with regard to this settlement conference would not be acceptable in the future.
    Case 1:12-cv-00775-LH-GBW Document 75 Filed 02/20/14 Page 2 of 2




    The Court also noted that it was amenable to resetting settlement conferences
    because of scheduling issues.
   The Court asked Mr. Owen if, because of his client flying in, Defendant would be
    seeking any sanctions, and Mr. Owen stated that Defendant would not be.
   Mr. Fergusson stated his appreciation that the Court had made the hearing
    telephonic.
   The Court concluded the conference.
